           Case 2:13-cr-00439-KJD-MDC         Document 230        Filed 01/14/16     Page 1 of 3




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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                         Plaintiff,                 )
                                                      )
10           v.                                       ) 2:13-CR-439-KJD-(VCF)
                                                      )
11 ANTHONY BRANDEL,                                   )
                                                      )
12                         Defendant.                 )
13                              PRELIMINARY ORDER OF FORFEITURE

14           This Court finds that defendant ANTHONY BRANDEL was found guilty on Count One of a

15 Twenty-Four-Count Criminal Indictment charging him with Conspiracy to Commit Wire Fraud and

16 Securities Fraud in violation of Title 15, United States Code, Section 78j(b) and Title 18, United States

17 Code, Sections 371 and 1343; in Counts Three through Four, Six through Seven, and Nine through
18 Thirteen with Wire Fraud in violation of Title 18, United States Code, 1343; and in Counts Fifteen

19 through Eighteen and Twenty-One through Twenty-Four charging him with Securities Fraud in

20 violation of Title 15, United States Code, Section 78j(b) and Title 17, Code of Federal Regulations,

21 Section 240.10b-5. Indictment, ECF No. 1; Minutes of Jury Trial, ECF No. 208; Jury Verdict, ECF

22 No. 215.

23           This Court finds that ANTHONY BRANDEL shall pay a criminal forfeiture money judgment

24 of $5,600,000 in United States Currency to the United States of America, held jointly and severally
25 liable with any codefendants, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States

26 / / /
        Case 2:13-cr-00439-KJD-MDC             Document 230        Filed 01/14/16     Page 2 of 3




 1 Code, Section 981(a)(1)(C) with Title 28, United States Code, Section 2461(c); and Title 21, United

 2 States Code, Section 853(p).

 3          THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United

 4 States recover from ANTHONY BRANDEL a criminal forfeiture money judgment in the amount of

 5 $5,600,000 in United States Currency.

 6          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send copies of

 7 this Order to all counsel of record and three certified copies to the United States Attorney’s Office,
 8 Attention Daniel D. Hollingsworth, Asset Forfeiture Unit.

 9                     14th day of January, 2016.
            DATED this ___

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12                                                UNITED STATES DISTRICT JUDGE
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       Case 2:13-cr-00439-KJD-MDC          Document 230       Filed 01/14/16     Page 3 of 3




 1                                       PROOF OF SERVICE

 2        A copy of the foregoing was served upon counsel of record via Electronic Filing on January

 3 12, 2016.

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 5                                                            /s/ Michelle C. Lewis
                                                             MICHELLE C. LEWIS
 6                                                           Paralegal Specialist
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